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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )           4:10CR3042
                                               )
                      Plaintiff,               )
                                               )
       vs.                                     )
                                               )           ORDER
MARCUS ARNETT POLK,                            )
                                               )
                      Defendant.               )

       IT IS ORDERED that:


       (1)     The government’s request for hearing is granted.


       (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filings 130 and 134) has been set before the undersigned United States district
judge on Thursday, December 20, 2012, at 12:30 p.m., in Courtroom No. 2, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.


       (3)     The United States Marshal is directed to return the defendant to the district for
the hearing.


       Dated November 27, 2012.


                                            BY THE COURT:

                                            Richard G. Kopf
                                            Senior United States District Judge
